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            EXHIBIT 1
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  Rina Goldweig
  31 Sachrai St.
  Jerusalem, Israel
  9647044


 03/13/2020


 Hon. Janet C. Hall
 United States District Court
 District ofCourthouse
 141 Church Street
 New Haven, Connecticut 06510


 Dear Judge Hall,


 My Name is Rina Goldzweig, Mr. Chaim Stern is the son of my late mother's late
 brother. I nevertheless consider Chaim as my brother.
 Many other distant relatives and friends feel very close to Chaim, as he gives everyone
 the feeling and helps as if it was his own problem he had to deal with.
 I have known Chaim and his Family since my early childhood and for over 60 years.
Chaim was abandoned by his mother at a very young age together with his other
siblings; the youngest was only 3 weeks oldi:
The burden of rising up the children fell all on Chaim's father's shoulders.
Chaim's Father, My uncle, a Holocaust survivor and a victim of extermination camps,
who lost a previous wife and children was a sick man, not functioning and suffering
among other ailments from anger outbursts causing the effect of beating his children
often with a stick leaving them bleeding.
Chaim used to shield his younger brothers from the father and he took the brunt of the
hitting off them!
The children grew up in dire poverty and misery without any supervision, going to
sleep hungry and on the floor in absence of beds. The family was known to the welfare
authorities.

Chaim understood even in his early years, that he had to support his family's
livelihood and he therefore gave up his studies in order to try and help supporting the
family.
During the days Chaim worked alongside his father and thereafter took care of his
siblings and the household.



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 My own parents, lacking resources themselves, seeing the miserable living conditions
 of Chaim's family, took Chaim away and invited him into our home providing him
 with a job in a diamond polishing factory.
 However, because of repeated eye inflammation from which Chaim suffered, doctors
 strongly advised Chaim to discontinue the work there.
 My parents convinced Chaim to immigrate to the USA to try his luck there. Chaim was
  persuaded that moving would enable him to support his family in Israel.
  Chaim, being diligent, honest and responsible, worked days and nights accepting any
 job he came across and even lost a finger at a textile factory he worked at.
 Despite the circumstances, he never despaired, never disappointed and never forgot his
 origins.
 Chaim always cares and supports his family when asked for help of any kind.
Additionally, Chaim Helps anyone that approaches him whether it is an individual, a
community, an organization etc. - he never refuses to assist as required and by all
means and ways he can devise, Chaim helps unconditionally, without consideration of
his own hardship.
A typical example would be when my late mother was hospitalized; Chaim came to
Israel specially to see her and did not leave until he had arranged for her through his
good contacts - to get the best treatment and doctors, following from home thereafter
how she was getting on.
When we had problems of any kind, Chaim was always there to assist, contribute and
always available.
Chaim as I know him was always so generous, charitable and never asked for any
favors in return. No wonder he is a central pivot in his community and family.
Above it all, I know Chaim would trust anyone; not taking into consideration people
might take advantage ofhis good heart.
We pray and hopes for court's leniency to enable Chaim persevere in his community
work.



Very truly yours,
    1-~'1 CLive-
Rina Goldzweig and Family




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 ,__                        EstY. Perlstein              (married name- Salczer)
                                                  1318 58th street
                                               Brooklyn,NY 11219
                                                   917.450.9448
                                              estee9448@gmail.com




 Hon. JanetC. Hall,
 United States District Court.
 District of Connecticut
 United States Courthouse,
 141 Church Street,
 New Haven Connecticut06510


 Dear Judge hall,




  It is a great honor and privilege to be Mr. Chaim and Miriam sterns oldest granddaughter, whom I have a
 special and close relationship with. My grandparents are kind and wonderful people who are always
 going the extra mile to help family, neighbors and the less fortunate. My Grandfather always brings
 leftover food from Shabbos (Saturday) to the local synagogue where he prays, so that others who are
not as privileged and can't afford a hot meal have what to eat. My grandfather always offers us rides to
the airport if we are traveling, helps us with errands if we are busy and is always trying to devote his life
for his children and Grandchildren.

One specific incident that comes to mind was when I was 8 weeks postpartum a c section after the birth
of my twin babies, I had moved in for a weekend to my grandparents home with my husband, my4 year
old daughter, and my 8 week old babies. Throughout the entire weekend my grandfather was helping
me with feedings, diaper changing, taking the babies on walks, just so that me and my husband can rest
up. Even more so, when it came to at night he took the night shift from 12:a.m to 6 a.m. so that I can
get my rest and recuperate. When I told him "Zeidy (grandfather) I feel so bad" his response was "Don't
worry about me, this is my enjoyment in life." This is my grandfather, living for his children and
grandchildren and always trying to be kind, patient and caring.

Although My grandfather Mr. Chaim stern has pied guilty, I am begging the honorable judge to be
lenient with his sentencing and give him the minimum punishment he deserves. I want my children to
be able to have their grandfather around as a role model and learn important values such as
thoughtfulness, kindness, devotion and most important being a good human. It would be devastating
and a real dishonorfor someone like My grandfather Mr. Chaim Stern not to be around his family and
friends because of a longer sentencing.



Thank you for your consideration




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              -
            Esty Perlstein              (married name- Salczer)
                              1318 58th street
                            Brooklyn, NY 11219
                               917.450.9448
                          estee9448@gmail.com

                       Yours T9:1ly,
                       G,.{.-_... t P,-/s+--
                       Esther Perlstein




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  Chana G. Steinberg

  70-53 136 street

  Flushing NY 11367




 March 15, 2020




 Hon. Janet C. Hall

 United States District Court

 District of Connecticut

 United States Courthouse

 141 Church Street

 New Haven, Connecticut06510




 Dear Judge Hall:




My name is Chana Steinberg, and I am a long-time neighbor of Mr. Chaim Stern. The neighborhood

knows Mr. Stern as a kindhearted and generous individual who will do anything to help another person.

I have personally experienced Mr. Stern's generosity when my husband passed away suddenly a number

of years ago, leaving me with four young children. Immediately, Mr. Stern was in my house helping

arrange the funeral and burial. Recognizing the need, and that I, due to my young children, would not

be able to arrange the details, Mr. Stern stepped in and did whatever he could to ease my burden at the

trying time. Even afterw ards, Mr. Stern remained a strong supportero f our family. He acted as a

grandfather figure to my children, always opening his home to my children with a warm smile. Even

now, as my children have grown, starting families of their own, we still maintain that connection. Mr.

Chaim Stern is a giving and caring individual who looks to help others in need.




                                                                                           Respectfully,


                                                                                     Chana G.Steinberg     C~St,:.._f~


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 Mrs. Nechama Bienenstock

 1330 East 26th St.

 Brooklyn. NY 11210



 March 17, 2020



 Hon. JanetC. Hall

United States District Court

District of Connecticut

United States Courthouse

141 Church St.

New Haven, Connecticut 06510



Dear Judge Hall:



I am a friend of Mr. And Mrs. Stern for the last 50 years. At one point in my former marriage he
collected money from his friends to pay my rent and put food on the table for me and my family. Mr.
Stern was very instrumental in helping me work out an agreement with my ex-husband to facilitate in
getting my divorce. He was always making sure that I was able to keep my head above water for me and
my family after my divorce. I don't know how I would be where I am today if not for his concern all
throughout the years that I have known him.



                                                Very truly yours,




                                                Mrs. Nechama Bienenstock




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             ‫קהל נחלת יצחק ד'הומנא‬
                   K’HAL NACHLAS YITZCHOK
                                141-43 73RD AVENUE
                            KEW GARDENS HILLS, NY 11367
                                   (718) 544-0115

                                             ‫בס"ד‬


NOACH ISAAC OELBAUM                                                        ‫נח אייזיק אהלבוים‬
       RABBI                                                                   ‫בעהמח"ס מנחת חן‬
 AUTHOR OF SEFORIM                                                     ‫רב ואב"ד דק"ק נחלת יצחק‬
    MINCHAS CHEN                                                         .‫י‬.‫ נ‬,‫בקיו גארדענס הילס‬

                                                                         February 9, 2020

Hon. Janet C. Hall
United States District Court
District of Connecticut
United States Courthouse
141 Church Street
New Haven, Connecticut 06510

Dear Judge Hall:

        My name is Rabbi Noach Isaac Oelbaum and I am a Rabbi in the community where
Mr. Chaim Stern lives.
        I am aware that he recently pleaded guilty and is awaiting sentencing in your court. I
have personally known Mr. Stern for close to 40 years, and he used to be a member of my
congregation.
        He is someone who gives both of his time and money to help anyone and everyone in
need. As a Rabbi in the community, I am aware of many people he has helped with advice
and money over the years; however I would like to share with you a personal story.
        I have a daughter who, thank G-D, has a beautiful family of her own. When she was a
teenager, she was diagnosed to be legally blind. You can imagine the heartbreak my wife
and I went through. Even a simple task like doing homework took much effort. Chaim Stern
used to photocopy and enlarge her school work so she would be able to keep up with the
rest of the class. This gave her confidence she needed and helped her grow to become…
        This is just a small example of the selfless acts of kindness Mr. Stern does, without
fanfare.

                                                          Sincerely,




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                             JACOB BORENSTEIN ESQ
                                   70-41136 STREET
                              FLUSHING, NEW YORK 11367

                                   TEL: (718) 575-0100
                                   FAX: (718) 261-3939


 Hon. Janet C. Hall,
 United States District Court,
 District of Connecticut,
 United States Courthouse,
 141 Church Street,
 New Haven, Connecticut 06510.
                                                                      February 18, 2020

 Dear Judge Hall,

 It has been my privilege to be Chaim Stem's neighbor and close friend for the past 35
years. I can unequivocally state that I have never come across another individual who
treats every person he meets with the utmost respect and honor. Since the day that my
wife and I moved on to the block, Chaim, and his wife Miriam, welcomed us into their
home and treated us as family. We have repeatedly witnessed them exhibiting the same
warm and welcoming treatment for many other people, including strangers. I have
personally seen visitors from abroad arrive at their door asking for a place to stay and was
amazed to see how Chaim and Miriam prepared hot meals for the visitors and treated
them with the greatest respect and dignity.

As a very close friend, I once inquired of Chaim why he welcomes everyone, including
 strangers soliciting funds whom he never met before, into his home. Chaim's response,
which I still remember until today, was that after hosting one of the greatest Jewish
Rabbis (from Israel) on his visits to New York, he recognized that while that was a
tremendous honor, there were many other people willing to host a famous Rabbi. But the
real "Mitzvah" is to welcome all individuals, including the underprivileged who have
nobody else to assist them. One of Chaim's life missions is treating all guests, including
those in need with nobody else to tum to, as though they are royalty. As you can expect,
word got out and, indeed, week after week his home has been like a free bed-and-
breakfast with multitudes of visitors.

On a very personal note, when my wife and I went through the most difficult, painful
time in our lives following the sudden death of our 12-year-old son, we didn't know who
to turn to and, naturally, we made our first phone call to Chaim. We had no idea how we
would be able to survive and continue to live on. All we saw was darkness all around us.
Our entire community came to our house to comfort us but it was Chaim and Miriam who
sat side by side with us during the entire mourning period, comforting us and helping us
though the most difficult times that we faced. Chaim is such a genuine person and we
know that everything he told us came from the depths of his heart and that he was truly
feeling our pain.


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 Although I am aware that Chaim has pleaded guilty to a crime, I believe that he has
 expressed his sincere regret and has learnt his lesson. Chaim has expressed his deep
 remorse to me and is suffering terribly. He has transitioned from being a person helping
others, to being reliant on the assistance of his friends and family. Despite Chaim's
mistakes, I am convinced that he is genuinely a good person who just made a bad
decision for which has already paid a huge price. Given his age, his earnest regret, and
the effect that his actions have had on his dear wife and children, I respectfully request
Your Honor not to impose anything more than the most appropriate lenient sentence. It
would be a shame for someone who has so much to contribute to his family and
community and who is not a threat to society to be sentenced for any extended period of
time.

Thank you for your consideration.

                                                  Yours Truly,
                                                   ~/z__
                                                   Jacob Borenstein




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  Bernard Freilich
  1270 53 th Street
  Brooklyn, NY 11219


 February 11, 2020



 Hon. Janet C. Hall
 United States District Court
 District of Connecticut
 United States Courthouse
 141 Church Street
 New Haven, Connecticut06510


 Dear Judge Hall:

 I am writing to you on behalf of Mr. Chaim Stern.

Firstly, I would like to introduce myself. For most of my adult life I have been actively involved in
community issues. For many years I ran Community Affairs for the New York State Police, reporting
directly to the Superintendent. Additionally, I have had the privilege of acting as community liaison for
the Chief of Transportation Office of the New York City Police department for many years. As such, I
have had considerable opportunities to collaborate with individuals who give their time, money, and
effort towards helping the underprivileged in our community.

Chaim Stern has been proven himself, over and over again, to be a benevolent and compassionate
individual to the disadvantaged in the community. I frequently referred the needy to Mr. Stern, knowing
that they will be helped by him in a material way.

Additionally, Mr. Stern has an open home to the destitute, especially during the period that the Grand
Rabbi visits from Israel. He makes his home available to everyone, serving three meals a day, and
sending people off with a kind smile and a nice donation.

Although I under that Mr. Stern has pleaded guilty, nevertheless, I hope that you take into account Mr.
Stern's kindness, benevolence, and his contribution to the community when considering his sentencing.




/J:1__"1~
Bernard Freilich




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  Chaim Stem is sort of related to me in that my daughter is married to his son. In Yiddish there is
  a name for this relationship; it is called "Mechutan". There is really no exact equivalent in
  English.

 While our children were engaged, actually it was less than a week before the wedding, I had
 occasion to be returning on a flight from Minnesota to Kennedy Airport in Queens NY. The
 flight was scheduled to leave with ample time to arrive in New York well before sundown Friday
 - when, by orthodox Jewish law, we are proscribed from travelling.

 As things worked out, after a delayed start, and after other issues on that memorable flight, we in
 fact landed about 30 minutes before sundown. This left me with quite a dilemma since it would
 be impossible to make it back to my home in Brooklyn while I was still permitted to drive. The
 only viable and practical option was to spend the Sabbath weekend in Queens.

 Now, I had at the time an uncle and cousins living in Queens and my first thought was to contact
 them to see if they would be willing to accommodate an unexpected guest for the weekend.
 However, as fate would have it, my uncle was away that week and my cousins for various
 reasons could not host me, and meanwhile the clock is ticking down to sundown which would
 force a weekend stay at the airport.

 Out of desperation I said to myself, wait a minute, I know somebody else in Queens: Chaim
Stem. After all, our children are getting married this coming week, let me give him a call. Then,
reason took over and I thought, how will this look? Here I am sort of putting him on the spot. If I
call him, he will feel obligated to say yes, and, perhaps he will really not be comfortable with the
idea at all. After all, it is right before a wedding, his entire house and family are under
tremendous stress and pressure and the last thing any of them need is the prospective Father-in-
Law to be dropping by for a weekend stay right before the wedding.

Nevertheless, out of sheer desperation, I disregarded that voice of logic and propriety, and I did
indeed make the call to Chaim Stem. I explained my situation to him and I asked if I could spend
the Sabbath weekend with him. Chaim did not pause or hesitate for a millisecond. "Of course
you '11 stay by us" he said. There are times when people make offers and you can pick up in their
voice that they are not being sincere. When Chaim said "of course you'll stay by us" it was with
the utmost sincerity and with a tremendous sense of joy. Feeling a little better, but still quite
embarrassed, I took a taxi to Chaim's house, arriving minutes before the onset of the Sabbath.
There was literally just enough time to shower and change.

The way Chaim hosted me that weekend was unbelievable. Rather than feeling that I was
imposing on him and being a burden, Chaim and his family made me feel not only welcome, but
they made me feel as if I was actually honoring them by my being there. During that Sabbath, I
found out "the rest of the story". It turns out that Chaim's Father-in-Law had suffered a massive
heart attack (he in fact passed away that Sunday) and both Chaim and his wife felt compelled
and had made plans to spend the Sabbath in the hospital with their Father/Father-in-Law. When I
called on late Friday seeking lodging, Chaim immediately decided that they would forego the
hospital visit and instead host me, and they were so gracious and accommodating that I was




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 completely unaware of the tremendous personal sacrifice that they were making, until Sabbath
 afternoon, when Chaim and his wife excused themselves in order to walk over to the hospital.

My experience was not unique. Having spoken to Chaim's neighbors and friends that I met that
weekend, I was told that rarely is there a week that Chaim does not host visitors over the Sabbath
weekend. Moreover, they told me that they were positive that on that weekend he surely would
not host any guests because of the stresses of preparing for a wedding, but as it turned out,
Chaim was true to form even that weekend.

In the ensuing years, I have come to know Chaim quite well, and I have personally witnessed
numerous occasions where I was astonished by his compassion and charity. I know of interest
free loans that he extended to individuals in an effort to establish businesses. I know of cases
where Chaim paid all of the wedding expenses of poor and destitute brides. Chaim was always
one of the first to respond generously and enthusiastically to all charitable causes brought to his
attention. Chaim never sought the limelight and performed his communal and charitable efforts
in a humble and unassuming way.

I am aware that Chaim is a human and that all humans are subject to human frailty. I am aware
that Chaim has entered a guilty plea and that he is awaiting sentencing. I ask that he be treated
with compassion because I know him as a compassionate man. I ask that he be treated with
mercy because I know him as a merciful man. I ask that he be treated charitably because I know
him as a charitable man.

With Respect,

~I~
Samuel Kurtz




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                                   Avery S Mehlman, Esq.
                                     136-45 72"^* Avenue
                                     Flushing NY 11367




                                             March 5, 2020


Hon. Janet C. Hall
United States District Court
District of Connecticut
United State Courthouse
141 Church Street
New Haven, CT 06510

Dear Judge Hall:

       I have known Chaim Stem for over twenty years, we pray in the same synagogue and have
become family friends. Although I am attorney, and a former prosecutor, I was not involved in
representing Chaim Stem nor am I familiar with the charges.

        I am writing in my capacity as a friend and someone who has witnessed first-hand the
contributions and help Mr. Stem gives on a day-to-day basis to the community as a whole and to
individuals in the community. For example, whenever a new person enters into the synagogue,
Mr. Stem is always welcoming and even more important, Mr. Stem will always ask the individual
if he needs a place to eat or even sleep. I have seen Mr. Stem, on a Friday night, invite people to
his Sabbath meal, that are visiting the community. These individuals are strangers and Mr. Stem
recognizing the importance of welcoming guests into his home, does so without any
reservation. In our day and age, these acts of kindness are unfortunately not practiced by
many. Chaim Stem is quite rare in that respect.

        Additionally, I have witnessed the joy Mr. Stem gets from spending time with his
wonderful family. The family is close knit and Chaim has worked hard to ensure that his family
stays close and is always happy.




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 February 17, 2020




 My name is Richard Kirschner. I have lived in Kew Gardens Hills for over 35 years and help run a
 business called Restaurant Depot which is similar to a Costco (but at a much smaller scale) where
 restaurants can buy anything they need for their business.

 I know Mr. Chaim Stern simply because we go to the same synagogue and though I have never
 conducted business with him, I sit relatively close to him in synagogue.

 I am very comfortable in telling the court that I have nothing but the highest regard for Mr. Stern as a
 warm and caring person and would like to provide a few examples:

               •   When my very young grandchildren on occasion would come to synagogue, Mr. Stern
                   would always take time to make them feel extremely welcomed by simply talking to
                   them, telling them how cute or pretty they were and engaging in conversation for a
                   good few minutes.


               •   Mr. Stern sits at a table which allows him to see what is going on in the synagogue. On
                   many occasions the synagogue is simply full (standing room only). Mr. Stern always
                   makes it his business to make sure that he finds a place for everyone coming in late
                   (whetherthey are teenagers or general strangers) to sit and be comfortable at the
                   service.




               •   Mr. Stern is a Chasidic person and a lot of the younger generation walking into the
                   synagogue are generally of a much more modern Orthodox bent. Yet I find that they
                   really like congregating at Mr. Stern's table because of the warmth that he exudes and
                   the jovial banter that he has with them (sometimes during and sometimes after service).

All in all, it has been a privilege to be associated with someone of Mr. Stern's warm and caring
personality and character.



Sincerely,


/G- fL--
Richard Kirschner




137-05 12nd Street, Flushing, NY 11367                 718'-559-4203           rki rschner@jetrord.com
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  Jonathan E. Kroll
  15 Old Pond Road
  Great Neck NY 11023

 March 23, 2020

 Hon. Janet Hall
 United States District Court
 District of Connecticut
 United States Courthouse
 141 Church Street
 New Haven, Connecticut 06510




 Dear Judge Hall:


        My name is Jonathan Kro 11 and I live in Great Neek New York. I am an practicing
attorney in New York for over twenty five (25) years and have known Mr. Chaim Stern and his
family for almost as long as I have been in the practice of law. I am aware of that Mr. Stem has
plead guilty of a crime and I write this letter to the Court on his behalf in the hope that you will
know more about who Chaim Stern is as a person.
         I know Mr. Stern from the years before I married my wife as a friend and someone who
 gave me guidance as a younger man about the importance of being married and having a family. I
 am married almost twenty years now with three beautiful children and I am deeply grateful to Mr.
 Stem who many Friday nights and Jewish holidays would invite me to his home in Kew Gardens
Hills NY not just eat the delicious food his wife had prepared but to give support to a young man
starting out in life and wanting to start a family (He and his family spent a lot of time and effort
with me). While, it may seem that this was a long ago- to me it was just yesterday. Chaim Stern
was generous with his time, friendship and guidance. As look at my own family I am reminded of
the good deeds that Mr. Stern did for me. Chaim Stern did not have to take form his time or long
work week to engage a young person starting in life but he did and did it selflessly and without
reservation.




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I am also aware of some charitable works that Mr. Stem was involved with helping with the
education and religious institutions both here in America and abroad.
I hope that the court will take into consideration the good deeds of Mr. Chaim Stern as I have
indicated above in any decision that it will make.




                                                   Sincerely,

                                                   Jonq-ll- (;         PJ/
                                                   Jonathan E. Kroll


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Danny Schilo
1453 57TH Street
Brooklyn, New York 11219

February 12th, 2020

Hon. Janet C. Hall
United States District Court
District of Connecticut
United States Courthouse
141 Church Street
New Haven, Connecticut 06510

Dear Judge Hall:

Thank you for the opportunity to allow me to share my personal experience with Mr. Stern with your
Court. I do not have much background on this case, but I can tell you that Mr. Stern is an example of a
person with a golden heart, who is a selfless giver and fighter on behalf the weakest in our community.

As a professional in Deloitte’s Digital Forensic group for over a decade, I’ve always done my best to be
respectful of the Court’s time, so writing this letter is not something I take lightly.

I have known Mr. Stern for over a decade and I’m one of the people who directly benefited from Mr.
Stern’s exceptional drive to help others in our society. When I first came to Mr. Stern’s neighborhood,
Kew Gardens Hills, Queens, I did not have any local relatives and very few friends. Mr. Stern was one of
the first people I was introduced to. He immediately offered me an “open house” for anything I needed
help with, ranging from personal and business advice to inviting me to share holiday meals with him and
his family. The Stern house would always be filled with people looking for “a home away from home”
while they were going through challenging times.

This all fits into the pattern of Mr. Stern’s reputation as a renowned member of the community. But it
wasn’t just needy people that showed up by the Sterns. Prominent community representatives and VIPs
visiting New York would often specifically choose to be hosted at Mr. Stern’s house, even if more luxurious
and larger accommodations were offered by others. I assume Mr. Stern’s humility, good name and
genuine drive to help others is what sets him apart and makes him a well-desired center for community
leaders. Personally, I asked Mr. Stern to host my in-laws during my wedding/engagement weekend, which
he gladly accepted. My family was very impressed.

I hope this letter will give the Court a better idea of Mr. Sterns special nature, and that the current issues
at hand do not represent the Mr. Stern we all know in the community.

Very Truly Yours,

Danny Schilo




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 My name is Rabbi Joseph Hershkowitz and I am the
 Development Director for an organization named Pesach
 Tikvah. I am one of the founders of the organization and I am
 also a father of one of the children attending the program.

 Our ability to help hundreds of families from all backgrounds
 depends on the help and support that we receive from the
 broad communities. Accordingly, the more intense
 involvement from community members the more we can
extend a helping hand to the needy and helpless children.

Our organization was formed in 1988 and throughout this
stretch of time I met thousands of individuals who extended a
helping hand. However, there is always an outstanding person
that makes you feel so special and empathizes with your
struggles. This individuals give you the courage to continue
helping the children even though you many times have burn
out.

Chaim Stern is a person is a person who I met through a
mutual friend. From the first moment that we met I felt that I
was standing next to a warm and compassionate person.
Chaim wanted to hear and understand what we are doing and
how he can assist. When I told him that a visit to Pesach
Tikvah would be greatly appreciated he immediately agreed.
What followed at the visit is hearth warming. Chaim wept
when he saw how the children were suffering and he



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promised to visit again and to be available whenever to help
us. Chaim did not disappoint us. He listened and he acted.
Connecting us to so many acquaintances of his and
encouraging them to be of assistance to us. Anyone who
knows Chaim would tell you that there are few people that
match his passion for the suffering and even fewer that are
willing to act on it. Chaim has shown passion all this years
without asking anything in return, now when he needs our
passion it is time that we grant it to him. If anyone deserves it
is Chaim.




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 February 17, 2020

 Hon. JanetC. Hall
 United States District Court
 District of Connecticut
 United States Courthouse
 141 Court Street
 New Haven, CT 06510




 Dear Judge Hall:


 We are writing to express our respect and honor for Mr. Chaim Stern, whom we have known for many
 years as a man of integrity and generosity.


 We are the coordinators of Hatzo lah, the largest all volunteer ambulance corps, which is based in
 Brooklyn, New York. Hatzo lah was established with a small group of volunteers in 1968 and has since
 grown exponentially with divisions all across the country and around the world. Throughout its long
 years of dedicated work, Hatzolah has saved thousands of lives.


 Hatzolah's life-saving work would not have been possible without the generosity of Mr. Chaim Stern.
Mr. Chaim Stern has been a benefactor for Hatzo lah since it's inception. From its earliest days,
Chaim Stern has kindly donated crucial medical supplies from his nursing facilities in Connecticut.
He has always been a ready friend, eagerto assist Hatzo lah and the entire community in any way
possible.


We can affirm that Chaim Stern is an honorable and trustworthy person and is truly remorseful for his
mistake for which he has pleaded guilty.

In light of Mr. Stern's standing in the community, his record of generosity, and sincere remorse, please
grant him leniency.




Sincerely,

Benzion Lebovitz
President
  ,#-----
Chaim Fisher
Vice President

 cJ~~l_
Hatzolah of Bora Park




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  Joseph Stern

  1633 60 Street

  Brooklyn, NY 11204




  February 11, 2020




  Hon. JanetC. Hall

  United States District Court

 District of Connecticut

 United States Courthouse

 141 Church Street

 New Haven, Connecticut06510



 Dear Judge Hall:


 Chaim Stern is my father; I'm an only son. I am by no means a legal expert, I therefor will leave the legalities
 to his most capable attorneys. You might be familiar with how his story ended but I'll try to get you
 acquainted with my father as a human being and how his story began.

As the oldest of 4 siblings, I have 3 sisters, I watched my father go through many stages in life. He was
always a hard working man, but never too busy for his family. He provided us with a comfortable, not
lavish, place to call home. It was a home, not a house, where we all felt safe, warmth and loved. Since I
attended Yeshiva (orthodox school) there weren't any sporting events. There were however some social
events that he always made his best effort to attend.

\ When I was an adolescent my father purchased his first own business and became his own boss. Nothing
really changed though in our day to day life. We stayed in the same house (didn't even remodel), wore
the same cloth, and drove the same car. The only thing that did change though was his ability to finally
help people in a meaningful way. Having people come over seeking guidance and/orfinancial help was a
common scene in our home.

Then I got married and continued my Talmudic studies for a few years, and ultimately joined him in the
business. He was a smart businessman but more importantly he was a generous and compassionate boss.
Whenever possible he would go out of his way to help them any way he could. He advocated employees
to strive higher, in some cases pay for their education, and pro mote them up the ranks. One example of
this is how a kitchen employee eventually became his (best!) administrator. If an employee had a real
chance to succeed but it would mean leaving the company, he would always put what's better for the
individual first. When his food service director was offered a position with a new startup with a real chance
for success, he sat him down and showed howfo rhisfamily's sake it was the rightthingto do. I will always




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 rememberthe following story. There was a certain employee who by all means needed to sent away. He r
workmate as well as her supervisor felt that way and a day was picked that it would happen. The night
before it was to take place, the employees spouse had a serious medical episode. When myfatherheard
about it he immediately called the supervisor not to fire the employee, but rather, let's figure out a way
how we can make it work.


I know my father is awaiting sentencing by you. Our Jewish sages teach us that G-D, as well as Man, should
judge a person in the same manner the individual acted toward others. My father, who isn't the healthiest
of men, was already punished by losing his reputation and business, something he worked very hard his
entire life building. I hope you can take into account his generosity and compassion he showed others and
sentence him with the same.



Respectfully;

Joseph Stern    .:}6.se-f/1 5-&.r.,




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  Gitty Stern

  1633 60 Street

  Brooklyn, NY 11204



  March 17, 2020




 Hon. JanetC. Hall

 United States District Court

 District of Connecticut

 United States Courthouse

 141 Church Street

 New Haven, Connecticut06510



 Dear Judge Hall:




If all the waters would be ink and all the trees would be quills it would still not be enough to describe
the true goodness of Mr. Chaim Stern .

Hi! My name is GittyStern. I am the one and only daughter-in-law of Mr. Chaim Stern. Soon after I got
engaged to my husband, about 29 years ago, I met someone who knew 'The Sterns' "Oh! If you need a
favor from them today they'll do it yesterday .... " I later learned personally that she was right on target
explaining his nature.

Over the years I learned a lot from my dear father-in-law. I learned from him to be a warm, loving and
giving person. His co ncern for each of his children and grandchildren is remarkable. He is ok only if they
are ok. I learned from him how to be selfless and do favors for others with the whole heart and take
zero credit for it. He is truly a great person and doing good for others comes so naturally to him that he
doesn't even think he did anything great. To visit him is a major treat for my children. Their excitement
when going to visit shows that his happy disposition is contagious as it permeates the atmosphere of the
house. His love for my children is so great that they feel it. They would do anything and everything for
him. He is a powerful, strong personality type of person who never gives up. He is a true inspiration to
me. Actually, if there would be some more "Chaim Sterns" on this Earth, this world would be a better
place! Please extend him the mercy and compassion he has shown others his entire life- everyone can
benefit from his goodness!



Respectfully Yours,

GittyStern   c:.._j; Sf<"fi1


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                                    Moshe Schwerd, Esq.
                                      138-03 78th Road
                                 Flushing, New York 11367

                                                                              March 14, 2020
 Hon. Janet C. Hall
 United States District Court
 District of Connecticut
 United States Courthouse
 141 Church Street
 New Haven, Connecticut 06510

 Re: Mr. Chaim Stem

 Dear Judge Hall:

 Until my recent retirement, I was Senior Tax Counsel at Simpson Thacher and Bartlett. In
 over thirty years of practice, I have never been moved to pen a letter such as this.

Frankly, Ijust learned of Mr. Stem's case and I am shocked and disappointed. However,
I feel obligated to bring my feelings and the feelings of a community to Your Honor's
attention.

Though I would not characterize Mr. Stem as a friend, I know him and, more
importantly, I know of his vast and selfless contributions to a myriad of philanthropic
causes. True, like many, he is involved with various organizations. But what sets him
apart is his care and concern for the individual. He is not only willing to help but does so
with a generosity of spirit, making the beneficiary feel like feel like the giver, not the
taker.

I feel certain that when given the opportunity, Mr. Stern will once again continue to
provide important assistance to the community at large. Organizations need him, The
community needs him. Individuals need him.

We ask for you to take this into account and show mercy in your sentencing.



Respectfully,

fl,->/,~
Moshe Schwerd




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Shlome Berger
1306 Vincenzo Drive
Toms River, NJ 08753

March 18, 2020

Hon. Janet C. Hall
United States District Court
District of Connecticut
United States Courthouse
141 Church Street
New Haven, Connecticut06510

Dear Judge Hall:

I hope this letter finds you and your family well as we face this national challenge together apart.

I write today on behalf of my mentor my friend Chaim Stem. I was introduced to Chaim as an adolescent in my
formative years. I was a child of holocaust survivors and Chaim was my beacon of light. He provided guidance,
support and comfort to many boys in my community. His home was open to anyone in need and continues until
today. Whenever their was a need our grand Rabbi knew Chaim was an individual we can all depend on
because of his generous heart.

When I turned 21 and got married, Chaim made sure to speak to me and guide me with tips and advice with
creating and building my home and raising a family. He was the older brother I never had and I admired him
greatly and still do til today, over 30 years later. He's my friend and mentor. He's a community leader and
builder. He raised a beautiful family of children and grandchildren and is loved and depended on by many.

Please take our words and feelings into consideration. We look forward to your favorable and compassionate
ruling.


Very Truly Yours,

.<A/U;M fl,~
Shlome Berger




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 Honorable Janet C. Hall,


33 years ago I was very lucky to move in next door to Mr. and Mrs. Chaim Stern. In all these
years we did not have a cross word between us. There was always friendship, loyalty, and
support when I was going through a rough time I turned to Mr. Stern for help. His support,
understanding, and love was something I shall never forget. He helped me so much by talking,
by being the best friend anybody could ever ask for. Through the years I have seen his family,
his children get married and I have seen him be the best Father, Grandfather and Great
GrandFather ever. The Holidays come and people come to his door for charity and he never
turns anybody down ever. In our neighborhood of Kew Garden Hills we know if we need help
we go to Mr. Chaim Stern. In all the times I have been living next door to him, I know him to be
a honorable and man with integrity. I know that he plead guilty. I do not know the particulars of
what was going on. I trust him to do the right thing. All I would ask for is that he should be dea It
with the utmost compassion considering his age, health, and the needs of his family. I know the
wheels of justice turn slowly but justly with a lot of compassion. Especially for a wonderful
person as Chaim Stern.

Sincerely yours.
His next door neighbor




Esther Biderman




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 Dear L Honorable Judge Hall
 U.S. District Court/ District of Conn. US courthouse


 My name is Eli Glaser, and I reside in Queens, Ny.



 I am writing this personal letter on behalf of Mr Chaim Stern
 I have known Chaim for over 40 years, where we both started life as young couples in our Queens, ny
 community

 Chaim was always interested in helping/assisting in community charitable works. As president of my
 synagogue ,he was always the first { sometimes the only one) that would approach me - or others- to
 contribute his valuable personal time to help out some unfortunate soul."s, that were going through
 some personal crisis - or- had fallen into some serious hardships on a financial level.
 In 200 5 my son ,Avigdor ,(30 I-of blessed memory ,a up and coming rising superstar at Stroock and
Stroock law firm in NY ,succumbed to the dreaded Cancer disease, and our family established a charity
fund in his memory- to assist widows and orphans.
 Chaim was always in the fore front in approaching me how he can help - not just financially, but more
important with his time or advise to help widows and orphans .He Was always from the very first to
contact me and offer his assistance {time wise /financially ,legally or just with his gift of common
sense )to be there at any moment - to help navigate a recent widow or orphan that had just had a
tragedy in their family ! !
 Needless to say-we did call on him many Times, and his advise and guidance, always was very
comforting to the widow that A highly respected person of our community was there for her or her
children - at any given time as that person was going through a major financial and emotional
withdrawal after such a lifetime -event changing lifestyle issue.
 Judge Hall I just wanted you to have a little insight into the sterling character traits that Mr Stern
possesses.
Thank you for giving The Letter on behalf of Mr Chaim Stern some consideration.
With much appreciation, thank you in advance
Good day/ Good health to all


Eli Glaser
138-45 78 Drive

Flushing ,Ny 11367




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 Honored judge,


        Hi, my name is Etty Perlstein. You don't know me and well, I don't know

 you, and with all that I'm still writing to you this letter. A few months back I

 noticed something was wrong. My mother and father were busy all the time,

 there were these whispered meetings and phone calls, and worst of all nobody

 was telling me anything. I thought the worst, but then I laughed it off saying that

 my parents would have told me if there was something really wrong. And yet I

 was wrong. As the weeks went by, things started changing around here. My dad

 was pretty much in meetings all week, and if he wasn't, then he was being told

 when the next one was going to be. My mom pretended that she was stronger

then she really was, but I knew the truth, and the truth wasn't pretty. It took me a

few good months for my already overstuffed brain to understand what's been

going on. My grandfather is in trouble. I honestly can't understand why. The man

who gives me the biggest and wettest kisses in the world is in trouble? Even

today as I'm writing this, I still don't believe it, and frankly I never will. My

grandfather is the kindest and most generous man I have ever met. He helps so

many people daily without hesitating or judging them. Most people will probably

never know half of all the acts of kindness that he did. I'm still in shock that

something like this is actually happening, but I had to get over it real quick and

figure out a way to help him out. And that is how you, honorable judge, came into

my life. No, I don't know you, and no you don't know me. However I'm a 16 year

old girl who, I know, shockingly wants her grandfather to continue giving her

those wet kisses, and wants him to continue those daily love fights with grandma



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(well maybe not exactly that, but you get the idea). And most off all I just want

him to be happy. Please help make things right.




                                                 Sincerely,
                                                                 tT1;
                                                       It's in the first line of my writing.




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Dear
Judge,

                                                                  My name is Jack Feldstein. I am Chaim
Stern 's neighbor. Ever since I moved in, he has been like a father figure to me. My father passed away
many years ago and sometimes you need someone elderly and worldly to give you advice, especially
when you know he has your interest at heart. His house is always open to all, early morn ing with his
wife Miriam on the porch with a fresh coffee, or late at night with a tro ubling question. If you need
room for guest, the house is always

available.                                              Unfo rtunately, my brother-in-law had a major
stoke and first was in Columbia Hospital Milstein building and now in Gaylord rehab farm in Wallingf ord
CT. The first people on the block to offer help and fo od to be broughtto the hospital and rehab center
were the Stern 's. When it snows, the first on the block to help clean walkways fo r elderly neighbors are
the Stern 's. Everything they do is done right, not just to get it done-but with feeling like they are helping
there own family-these people are the best- thank you fo r reading this       Jack Feldstein

                                                                             :;;:- f:=--




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  Odelia Goldweig
  31 Sachrai St.
  Jerusalem, Israel
  9647044


  03/13/2020


 Hon. Janet C. Hall
 United States District Court
 District of Courthouse
 141 Church Street
 New Haven, Connecticut 06510


 Dear Judge Hall,


 My name is Odelia Goldzweig, Mr. Chaim Stem is my mother's first cousin.

 It is a genuine honor to write this letter in favor of Mr. Chaim Stem.

 Mr. Stem has always been as an uncle figure to me since my family is very close to
 him.


Many other distant relatives felt the same way as a result of Mr. Stem's outshining
warmth, sensitivity and always being the first to provide help to whomever is in need
without raising any questions and with no expectations to receive anything in return,
sometimes even before getting asked.

Every single time Mr. Stem heard I was arriving to the U.S., despite his busy schedule,
he immediately made sure I get picked up from the airport by either him or his wife
and hosted me at his family home for as long as I needed, providing me with full
hospitality, making sure I'm being taken care of in the most generous way possible,
including taking me out to eat in restaurants, buying me cloth and when I went to camp
- buying me more than just necessities, making sure I'm as comfortable as it can get.

As I spend a lot of time with Mr. Stem, I have seen how Mr. Stem treats everyone
equally with such respect, dignity and kindness, no matter who they are and where they
come from.

Mr. Stem is always so approachable and would always go above and beyond to help
anyone. Mr. Stem's uplifting and happy approach for life influences everyone around
him, from close family to complete strangers.
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 Knowing Mr. Stern for over 20 years now, I can truthfully say I have always looked up
to him, being a person with such integrity and honor, as he always knew exactly how to
be there for everyone, in such a kind and selfless way, knowing how to help without
making the person that was being helped feel like they are being helped, Mr. Stern has
a unique quality of somehow making people feel as if THEY are helping HIM by
accepting his help.

It is my sincere hope that court takes my letter into consideration at the time of
sentencing, after all Mr. Stern has been through and as he is so valuble to his wife his
children, the whole family, his neighbors, his community and to society,

Mr. Stern makes such a difference, in the best way possible in people's life.


Sincerly yours,
 0 {~ /j,1,__
Odelia Goldzweig




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 Rabbi Keeva Grunblatt
 70-47 136th St.
 Flushing, NY 11367

 March 19th, 2020

Honorable Janet C. Hall
United States District Courthouse
District of Connecticut
United States Courthouse
141 Church Street
New Haven Connecticut 06510

Dear Judge Hall,


I am writing to you regarding the case of Mr. Chaim Stem. My name is Rabbi Akiva Grunblatt and I
am the Dean of the Rabbinical Seminary of America. Our Seminary, which has close to 400 students,
prides itself on our reputation for the emphasize of the highest standards of honesty and morality. I am
therefore not condoning any improper action of Chaim Stem.

Nevertheless, I believe a person should be judged in his entirety and not only specific actions. I am a
neighbor of his and can attest that he is an unusually kind hearted and giving person who is always
ready to help others. I recall an incident when our seminary was given the opportunity to invest in a
nursing home. Chaim spent many hours reviewing the documents, calling his contacts, and advising us,
all as a favor, without any compensation. This is very typical behavior of Chaim, so much so that it did
not dawn om me to hesitate to ask him this favor.

Thank you for your consideration .

Respectfully,
  ~- c/''-ha1--l1-
Keeva Grunblatt




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About 30 years ago I moved into Kew Gardens Hills, which at the time was a modern orthodox
community. About two years later the house next to mine was sold and the Stern family moved in.

I could not have been luckier having them as neighbors. Mr. Stern was always ready to do a favor; all I
had to do is ask. Whether I needed a 6AM airport pickup or an 11 PM drop off. If I needed a car he not
only offered but made sure there was enough gas. After a snow storm, when I came home late from the
office my sidewalk was shoveled-again courtesy of Mr. Stern. If he saw me coming home from the
supermarket with packages-there he was-helping me carry them. When I had a party in my house and I
needed extra chairs, not only was I able to borrow them but he carried them in fo r me.

Mr. Stern is a member of many voluntary community organizations in Kew Gardens Hills and
elsewhere. Numerous families in my community and others have be nefitted from his generosity and
charity.


I reallyfeelblessedhavinga neighborlike Mr. Stern.




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  Jerome Kahan

  6 Lyn haven Court

  Monsey, NY10952

  March 3, 2020




  Hon. JanetC. Hall

  United States District Court

 District of Connecticut

 United States Courthouse

 141 Church Street

 New Haven, Connecticut06510



 Dear Judge Hall,




 My name is Jerome Kahan, I reside at 6 Lyn haven Court, Monsey NY 109 52. My profession is a Nursing
 Home Administrator. I have personally known Mr. Chaim Stern forover40 years. Mr. Chaim Stern has
 been a friend, a partner and fellow congregantof mine. I have always known him to be a kind
 compassionate gentleman.

 I am aware that Mr. Stern has pleaded guilty.

His good deeds both here in the USA and abroad are unmeasurable. He founded and supported many
charitable organizations. There are many institutions that owe him a tremendous debt of gratitude, for if
not for him they would not exist. I have personally seen Mr. Stern host leaders of large communities
with thousands of followers in his home for several weeks. He was there to tend to the needs of the
elderly Rabbi and all the individuals that came to visit. He even hosted a wedding at his home.

When he undertakes a project of helping fellow human beings, he will apply himself, selflessly and
invest all his time and support. His respect for the clergy and community leaders know no bounds.

I have witnessed Mr. Stern at the airport helping an individual get on to a flight that was fully booked,
Mr. Stern personally paid to have this person get on to the flight at a higherfare in an uppercla ss as that
was the only seat available.

Mr. Stern and I have stayed atthe same hotel during the holidays. I have seen him interact with his
children and grandchildren on many occasions. He is a loving father and grandfather.

There was a while that Mr. Stern and I were partners in a business venture. He always exhibited himself
to be an honest and upstanding businessman.




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I humbly ask that the Honorable Judge look at this fine caring individual favorably so he can continue
being the wonderful father, grandfather and outstanding community activist that he has always been.




                                                           Very Truly Yours,


                                                           Y"--     r~
                                                           Jerome Kahan




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                                                                                           Pauline Perlstein
                                                                                           1616 55 th Street.
                                                                                         Brooklyn, NY 11204
 2/10/2020

 Hon Janet C. Hall
 United States District Court
 District of Connecticut
 United States Courthouse
 141 Church Street,
 New Haven, Connecticut06510



Dear Judge Hall,


My name is Mrs. Pauline Perlstein. I am a mother of a beautiful family and was an active member of
Hatzolah Ambulance Corps for over 30 years. My husband and myself are community activists and
involved members.


I am proud to call Mr. Chaim Stern a member of my family as his daughter is married to my son. In the
26 years that I have known him, I find him to be an exceptionally dedicated and devoted father who has
a close and meaningful relationship with ALL of his children and grand-children. In fact, when his
daughter gave birth for the first time, he took a few days off from work to be there for her. It is no
wonder that he plays a big role in their lives.

He is a man of integrity and truth and has honored every commitment he has ever made to us and even
more. I am aware that he has a heart condition and is a frail 70 year old man. As his health is precarious,
an incarceration would be very dangerous for him and detrimental to his concerned family members.

Please take his warm and loving heart, that he has always extended to others into consideration at this
pivoted time.

Thank you for understanding,

Mrs. Pauline Perlstein   f/Z-J-+~




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 Shmuel Perlstein
 1742 53rd St
 Brooklyn, NY 11204


 March 13, 2020


 Hon. JanetC. Hall
 United State District Court
 District of Connecticut
 United States Courthouse
 141 Church Street,
 New Haven, Connecticut 06510.


 Dear Judge Hall,


 As one of the many grandchildren of Mr. Chaim Stern I wanted to share with you what an unbelievable
 grandfather I have. Every time I used to come by his house or he to my parent's house, he always used
to ask me "how are you, how's the family", he was always so considerate and giving to all his kids &
grandkids.

As a child at the age of 10 years old, he took me on Rosh Hashanah to Israel to the Grand Rabbi of
Viznitz, I remember being so amazed at the respect he showed fora Rabbi who was the same age as him
& the respect the rabbi showed back to him, I learned a lot from that trip. It soon became a yearly
tradition for me, I used to ask him every year can I please come along to the Rabbi, and with the kindest
smile he would say "Yes".

As a family we used to go upstate on 'Shabbos Chanukah', our family drove up first & my grandfather
used to come up the last, after everyone had showed up already, the excitement on everyone's face
when he showed up cant be explained, he was just that kind of person to everyone, people were always
happy to see him.

He truly was a role model to me, whenever I saw him, he was helping someone or asking other people if
they need help and if it wasn't helping other people, he was playing or just chatting with me or my
cousins.

I beg of you your honor judge Hall, please be kind to my grandfather as he was kind to me & others.



Thank you for Your time and consideration.
May god bless you!




                                             Yours Truly,

                                              Shmuel Perlstein   ...5""~<---



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                                               Rachel Perlstein

                                               1713 58th street

                                              Brooklyn NY 11204




  Hon. JanetC. Hall,

  United States District Court,

 District of Connecticut,

 United States Courthouse,

 141 Church Street,

 New Haven, Connecticut 06510,


                                                                                             March 14, 2020
 Dear Judge Hall,


 As an honored granddaughter of Mr. Chaim Stern i would like to express the respect, love and awe that i
 have towards my grandfather. He is truly the most selfless and caring individual I have ever met. My
 grandfather Mr. Stern is the kind of person that will take his shirt off his backjustto help another
 person. Whenever i would mention to my grandfather that i wanted to take a trip somewhere he would
 pull out his computer and within minutes my trip was booked. And the most amazing part was that he
made me feel like i was doing him a favor by allowing him to help me. There are many times that my
grandfather has been there for me and my family helping out with whatever we needed. However there
is one incident that truly shows the kind of person my grandfather is, and what a big impact he makes
on me and my family. We were at my grandparents' home for Shabbos (Saturday) and my grandfather
came home from Shu I (synagogue) Friday night. Before he can even sit down for a minute, he ran down
the block to help out his elderly neighbor whom he knew was all alone for Shabbos. All throughout that
weekend my grandfather took care of his neighbor as if she were his own mother. It was the most
amazing thing for my husband and I to witness such selflessness and devotion. That is the kind of person
my grandfather is. He is kind, caring and thoughtful when it comes to helping others. I ask the honorable
judge to please find it in your heart to be lenient with my grandfather. He is the most amazing head of
·o ur family and we really need him to be able to continue being the wonderful person he is for us.

Thank You.


                                                                                          Sincerely,

                                                                                          Rachel Perlstein

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 Joshua Rothenberg

 78 Clear Stream Rd

 Lakewood, NJ 08701



 03-02-2020




 Hon. Janet C. Hall

 United States District Court

 District of Connecticut

 United States Courthouse

141 Church Street

New Haven, Connecticut06510



Dear Judge Hall:




In 2013, after going through a very hard period, when I was barely making it through the week, I decided
to go into healthcare. To start in an industry where I was a complete novice, and a father of a large
family with many obligations, was daunting. I reached out to Chaim Stern, who just knew some family
members of mine, for advice. I thought it would be a phone call and that's it; but Chaim is the person
who became my lifeline. He advised me, helped me and gave me the emotional support I needed to get
me back on my feet. He gained nothing from his efforts. He generously gave countless hours of advice,
support and empathy to help me through. He believed in me and for that plus his selfless giving of his
time and energy, I will forever be grateful. I asked him at the time why he is giving so much to me, a
relative stranger. He answered thatjustthe fact that he could help someone get back on his feet is
what drives him. I am a father of 14 children. These children have an emotionally healthy strong father
who can support their needs because of the kindness, generosity and giving of Chaim Stern.




                                                                         Respectfully,




                                                                         Joshua Rothenberg




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 Shmuel Landau
 572115th Avenue
 Brooklyn NY 11219



 March 17, 2020



 Hon. Janet C. Hall
 United States District Court
 District of Connecticut
 United States Courthouse
 141 Church Street
 New Haven, Connecticut 06510



 Dear Judge Hall:



My name is Shmuel Landau and I would like to take this opportunity to tell you a
little about my grandfather, Chaim Stern, and the great memories I have growing
up with such an amazing grandfather. I have countless memories of spending
time with him as a child. Going to his house and spending time together was
always an exciting activity and something that we as kids looked forward to each
time. He treated and continues to treat each grandchild as if we are the only one.
He loves us and care for us in the most genuine way, in a way that we can never
get enough of.



One specific memory stands out when I think back to being a child. Each year
during the holidays we would take a trip to the Catskills together with the whole
family. We would spend the entire weekend together soaking in his love, sitting
on his lap as he read to us, and listening to his jokes. Although we were together
with the entire family, he gave each grandchild the specific attention they
needed. None of us would go home feeling inferior to the other. If anything he
would make us feel better about ourselves.




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Looking back, now as an adult, there are many things he did that were purely for
our entertainment and enjoyment. He looked for every possible way to make us
happy and give us a good time. I am sure there were times that it might have
been inconvenient for him, or he has something pressing to take care of, but we
would never feel it. I have the fondest memories of those weekends and I only
wish my children will have the ability to experience the same happiness and
excitement that we felt.



                                                Sincerely,



                                                      Shmuel Landau




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  Shulamith K. Goldstein

  137-16 72 nd Road

  Flushing, N. Y.

  11367



  March 25, 2020



  Hon JanetC. Hall

  United States District Court

 District of Connecticut

 U.S. Courthouse

 141 Church New Haven, 06510



 Dear Judge Hall:




  I have known Mr. Stern for close to forty years; he and my late husband sat next to each other in the
 synagogue for thirty five years. I know Mr. Stern to be a very generous supporter of the synagogue and
 as someone who worked behind the scenes taking ca re of many of the administrative details. I know he
 is extremely generous to his family and to his community. I am sure you have heard from others about
 his loyalty to the VishnitzerRebbe and his many acts of kindness to the Rebbe. In fact, when the Re bbe
 came to America, he stayed at the home of Mr. and Mrs. Stern which was a great honor to them.



Mr. Stern is a good friend and neighbor to many people; he is always available to do a favor. When our
daughter moved to Israel a number of years ago, he was kind enough to take packages for her
whenever we asked. He and Mrs. Stern opened their home to host many charitable gatherings, and
they are often the hosts to people who need a place to stay for the Sabbath.




Yours truly,




Shulamith K. Goldstein




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                                            David Simkowitz

                                             65 Skillman St.

                                          Brooklyn, NY 11205

                                             (347) 415-5411


 3/12/2020

 Hon Janet C. Hall

 United States District Court

 District of Connecticut

 United States Courthouse

 141 Church Street

 New Haven, Connecticut06510



 Dear Judge Hall:

Thank you for taking the time to read my written words and to read into the unwritten words of my heart!
I consider Chaim Stern a great, personal friend, despite the age gap, and would like to share and express
a few words

My name is David Simkowitz. I am humble and proud to share that I have built a very successful boutique
financial services firm with a large life insurance practice that serves ultra high net worth individuals. I
have been blessed with tremendous success and am forever grateful to Chaim who served as a mentor
and was especially helpful to me early on in my career. He took a special interest in my success and gave
of his time, referrals, advice and more. Chaim Stern is not my relative, nor is he my age. He is just a very
special caring and sharing individual who loved to give the opportunity to a young person starting his
career.

Over the years, I have been involved in fundraising for various different causes. Chaim would be the
easiest to approach and he so willingly helped and was always the first one to say yes. He simply has a
heart of gold!

When we would be sitting around the table for a Yeshiva Board Meeting to discuss a financial challenge,
Chaim would be the first one to pledge, thereby holding the rest of us accountable to jump along with
him! He had no children, or grandchildren, of his own in this School but his commitment to the community
and values that the school teaches were very important to him. His participation encouraged and
obligated the rest of usto follow suit! How can any ofus say no when Chaim says YES!?




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 At other board meetings, when discussing potential raises for the teachers and staff, Chaim would be the
 one advocating and lobbying for everyone because he CARED and displayed unusual sensitivity to the staff
 members.


I recall that when we decided to open summpercampfo r our childrens' school, he was actively involved
and worked with the head counselor to make sure we had the properteam in place.

Chaim has a heart of gold. I have seen him very easily shed tears for a person in need or upon hearing of
a tragedy. In short, Chaim "Loves his Fellow Man"without exception!

I distinctly remember, when I was still very young, that Chaim hosted the late Grand Rabbi of Vizn itz who
was visiting from Israel.   He had an open house and home, extending his house and himself so that
everyone that came by felt very comfortable. His personal space because public and he displayed an
unbelievable level of caring to all.

Now that he is going through a challenge of his own, I would like to ask you to consider the best possible
outcome so Chaim can continue to be a contributing member, doing all his great deeds and helping so
many in need with his wisdom, caring and love.



Sincerely,

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David Simkowitz




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   Miriam Stahl
   1738 - 48 Street
   Brooklyn, NY 11204


  February 16, 2020

  Hon. Janet C. Hall
  United States District Court
  District of Connecticut
  United States Courthouse
  141 Church Street
  New Haven, Connecticut06510

  Dear Judge Hall:

  I have known Mr. Chaim Stern for approximately 13 years. We metthe first time at the
 engagement of myeldestson to Mr. Stern's youngest daughter. I wasexceptionately impressed
 with the close relationship he had with his children and was excited that my son would be
 joining Mr. Stern's family. The week before the wedding, Mr. Stern showed up at our home with
 a large parcel of candy, along with the traditionally expected wedding gifts. He had heard that
 the groom enjoyed sweets and wanted to ease his transition into his future family and into
 married life. In the almost thirteen years since, Mr. Stern has continued to shower my son with
 love- giving him all he can, both emotionally and financially.

 My first impression of Mr. Stern was that of a generous, kind-hearted individual who is prepared
 to do a favor for anyone in need. In fact, after the wedding celebratory weekend Mr. Stern
volunteered to drive two of our wedding guests to the airport. He did not know these people,
yet wanted to help us out. After all, he explained, it was easier for him to drive to the airport,
thereby allowing us, with our eight exhausted children, to drive straight home. But his kindness
did not stop there. Mr. Stern did not merely drop off our international guests (who were
strangers to him) at the airport terminal, but rather parked his car and accompanied them
throughout the checkout process up until they reached the security gate, so that he could assist
with any language barriers.

 Mr. Stern's generosity of spirit has been evident throughout the time that I have known him. All
of my children have started out their married life living in Israel. Mr. Stern would constantly
travel to Israel to visit his Grand Rabbi. Before each of these visits, he would contact either my
husband or myself to let us know that he was traveling and would ask if we would like to send
anything to our kids living abroad. He went out of his way to let us know before each time he
traveled, so that we could send our kids a taste of home.

Mr. Stern is a generous, kind gentleman who is constantly thinking about others. He will do a
favor for anyone. His desire to assist others and do all that he can to ease another's' burden is
evident in his daily interactions.

Respectfully you rs,

Miriam Stahl   /\--5



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          My name is Meir David Tabak. I am a resident of Brooklyn living together with my wife and
  family of several children and grandchildren. I am the owner of a successful real estate business, owning
  numerous properties around the area.

          As a good friend of Chaim Stern, I can attest to his status as a highly respected member of our
  community. Our friendship goes back many years, starting out as young students in Yeshiva as fully
  integrated members of the Viznitz community, spearheaded at th at time by the formerVizn itz Rabbi. I
  clearly remember how the former Rabbi constantly turned to Chaim for advice, assistance, and financial
  support.


          When the former Rabbi passed on, conflict broke out between the congregants of the close knit
 community. As the Rabbi had 2 sons, and both were vying to replace their holy father, the members of
 the community each backed the son they felt is worthy of the position. Chaim was the first person to
 vouch for a peaceful split, begging "Let us not confuse our children, as every man is entitled to his
 opinion!" Thus followed a personal campaign of his for peace, as he endured Beis Din after Beis Din,
 funded by his own money and effort ... allfo r the sake of peace. And today? Peace reigns between the
 two Viznitz communities, all thanks to a wonderful man by the name of Chaim Stern!

         Arriving to the US after my marriage, I was destitute. Chaim randomly approached me two
 weeks after my wedding to offer his assistance. I felt so blessed, yet little did I know that so many others
 benefited from his selfless acts just like me. Soon after, I was awarded the position of congregation
 assistant, where f frequently dealt with Chaim who was in the capacity of congregation President along
 with his friend Chaim Aryeh Rosenberg. He was a pleasure to work with.

        With time, I established my real estate business. Chaim played a big part in my success, and f
credit my accomplishments today to this amazing man. Sometime during the early years of my career,
Chaim approached me along with 6 or 7 others, and requested our assistance with runningthe Viznitz
boys Cheder{educational school) which he has been running singlehandedly until then. The Viznitz boys
cheder has a $250,000 yearly budget deficiency. I've come to be privy to this information when I
coalesced with Chaim and his team, but until then, Chaim has been unbelievably carrying this burden
alone.

        Being the humble and selfless man that he is, Chaim always places the needs of others before
his own. Anyone in the Williamsburg Viznitz community can attest to the fact that he personifies
kindliness and good-heartedness. He is always at ready to help a fellow person with patience, time,
money and soundly advice. Hardly a person marries a child in our community without receiving a
generous check from Chaim. Chaim lives in a simple house and leads a no-frills, luxury-free lifestyle,
which just goes to show where his priorities lie.

        And now, Chaim, who has always been on the giving end, needs our help. We cannot be idle
witnesses to the pain and difficulty Chaim is currently enduring. Although limited in power, I must do
what I can from my part, and try to portray what Chaim's essence truly is. Chaim is a well-meaning, God-
fearingJew. He strives to do the right thing. Human error is just that, an error of which we learn from
and do not repeat.

      On behalf of the community, and as a good friend who speaks the truth, I hope you will consider
my words in Chaim's favor.




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                                        Thank you for taking the time to read my letter,

                                                                           With honor,

                                                                      Meir David Tabak     /1J//r"'-A




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  Jack Weiss
  34 35th Street
  Brooklyn NY 11232

  1/28/2020

  Hon. Janet C. Hall
  United States District Court
  District of Connecticut
 United States Courthouse
 141 Church Street
 New Haven, Connecticut 06510



 Dear Judge Hall:

 I own a company called Allstate Medical, which I started in 1995. Mr. Stern was one of my first
 customers, I really didn't know the business well yet, when I reached out to Bridgeport HCC to
 solicit business, Mr. Stern agreed to meet with me. When we met, he said he would give me an
 opportunity to work with his building and give me a chance to get my business off the ground. I
ended up doing a nice amount of business with him, and he really helped my business get started.
I had set terms at 30 days, and Mr. Stern was always making sure the building was paying their
bills within terms, (which unfortunately was not always the case with many other customers).

It was a few days before the Passover holiday the first year I was working with him, I get a phone
call from Mr. Stern asking for an aging of the account, I said all open bills were paid within terms,
he asked if there was any money owed that wasn't due yet, I said of course there are, and again
thanked him for his support, he again asked me to send the aging of any bills that haven't been
paid, he then told me he would like to pay any open bills, even current, as he assumes I must be
struggling with cash flow, (which was very much the case) and that he would like to ease my
burden going into the holiday.

Its 25 years later, and my business flourished where I make a nice living and no longer struggle. I
can never forget Mr. Sterns kindness, generosity and sensitivity he extended to me when I was
young and trying to start making a living, it's a lesson I try to live by with my business until today.

                                                                Sincerely,
                                                                 -::P-r----
                                                                Jack Weiss




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  Aaron Stahl
  1738 - 48 Street
  Brooklyn, NY 11204


  February 12, 2020

  Hon. Janet C. Hall
  United States District Court
  District of Connecticut
  United States Courthouse
  141 Church Street
  New Haven, Connecticut06510

  Dear Judge Hall:


 I write this letter on behalfo f my dear friend and mentor, Mr. Chaim Stern. I met Mr. Stern
 almost thirteen years ago, several days prior to the engagement of my son to Mr. Stern's
 daughter. Being that this was my first child getting married, I was quite nervous and unsure of
 how to proceed. Mr. Stern, as the older and more experienced father of married children, made
 himself available to me time and time again, advising me on which aspects of the wedding to
 focus on first and guiding me in how to juggle my time and financial responsibilities. Each
 meeting between Mr. Stern and myself began with a warm hug and a genuine inquiry as to how
 I, my wife and children were doing. My then-five year old son took a liking to his older brother's
 father-in-law and sat on Mr. Stern's lap throughout the engagement party and wedding
 celebratory weekend. Mr. Stern, being the warm, family man that he is, hugged my son and
 treated him as if he were his own grandchild.

 Mr. Stern's guidance, his availability and his sincere desire to give to others did not end with the
 marriage of our two children, but continued on with the subsequent engagements and
 marriages of my next six children. Each phone call of congratulations was acco mpanied by a
 heartfelt blessing and an inquiry as to how he could be of assistance. He did not hesitate to
advise on all matters, be it financial, emotional, or practical, even going so far as to trave I to
meetings to help collaborate between my other mechotunim( parents of my child's spouse) and
myself.

In addition, when my father was paralyzed with a stroke towards the end of his life, it was Mr.
Stern who stepped in to guide me with recommendations for specialists, home care aids, and
therapists. He reassured me that I can call him with any concern and directed me to the medical
professionals he felt were best qualified to assist. This quality of constantly thinking about
others and doing all he can to help them continues on to this day

Mr. Stern is an extremely valuable member of our society who has always graciously offered his
time, professional advice and generous assistance in all areas.

Respectfully yours,

Aaron Stahl




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